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JP024329                                          August 1, 2019


CM/ECF

The Honorable Pamela Meade Sargent
Magistrate Judge
U.S. District Court, Western District of Virginia
180 West Main Street
Suite 123
Abingdon, VA 24210


                   Re:       United States v. Indivior Inc. et al., 1:19-cr-0016 (JPJ)(PMS)

Dear Judge Sargent:

        The defendants, Indivior Inc. and Indivior plc (collectively “Indivior”), respectfully
submit this letter as discussed during the status conference held on July 31, 2019, to update the
Court on technical issues we experienced accessing the discovery produced to date by the
government. From Indivior’s point of view, there are no outstanding technical issues that require
the assistance of the Court to resolve. The technical issues that interfered with Indivior’s access
to the electronic data produced by the government so far have been resolved.1 We do have some
technical questions about the manner that the government processed the data it produced to
Indivior, which go to the issue of what certain data sets represent. We believe, however, that the
remaining technical questions can be resolved by the continuing dialogue between the parties.

       Apart from technical issues regarding access to data, we are also in discussion with the
government about the scope and adequacy of the discovery provided to date. We will attempt to
resolve those scope and adequacy issues expeditiously through negotiation. If that cannot be
achieved, we will bring such issues to the Court’s attention as soon as possible.




         1
            There is one encrypted hard drive produced by the government that we have been unable to access, but
understand from the government that it does not have a password to unencrypt the data and that the government
itself has never accessed the encrypted portions of the hard drive.




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August 1, 2019
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                                      Respectfully submitted,


                                      /s/  James P. Loonam
                                      By Counsel

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